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                     Exhibit 35
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Total Amount:
                                         Banking Information

                                                 $420,100
                                                                                                     Ismail
Transfer Details:                           19 Transfers                                            Haniyeh
                                     July 2000 – September 2001
Arab Bank Branch:                                  Gaza
Account Number:                                  63517500
Beneficiary:                     Ismail Abd al-Salam Ahmad Haniyeh
                                          General Information
Personal Details:       •   Born in 1963
                        •   Expelled to Marj al-Zuhur, 1992
                        •   Served as Secretary of the Board of Trustees and
                            Director of Academic Affairs at the Islamic University of
                            Gaza
Current Status:             “Prime Minister” of HAMAS Government in Gaza
                            (2006-2014)
Terrorist Activity:     •   HAMAS Leader
                        •   Headed Sheikh Yassin’s Bureau since 1997
Imprisonment:           •   1987-8: Two arrests for short periods
                        •   1989-1992: Israel
HAMAS Da'wa             •   Administrative Board Member of the Islamic Society –
Activity:                   Gaza
                        •   Head of the Sports Club, Islamic Society – Gaza
